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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
              v.                                 )      Case No. 09-20133
                                                 )
GLADSTONE McDOWELL &                             )
CURTIS PITTER,                                   )
               Defendants.                       )
                                                 )



                            MEMORANDUM AND ORDER

       This matter is before the Court on defendant Gladstone McDowell and Curtis

Pitter’s (“Michael Francois”) joint motion for dismissal of indictment and charges due to

lack of subject matter jurisdiction (doc. 481) filed on October 27, 2010. Mr. Pitter

previously filed a motion for dismissal of indictment (doc. 347) on September 7, 2010,

which raised issues identical to those addressed in the motion now before the Court, and

is thereby incorporated into the present motion. On November 4, 2010, the government

filed a response to the joint motion to dismiss (doc. 496). The Court held a hearing on

November 19, 2010 and took the matter under advisement. After thoroughly considering

the parties’ submissions and arguments, for the reasons set forth below, the Court denies

Mr. Pitter and Mr. McDowell’s joint motion.

       1. Grand Jury Selection

       Mr. Pitter and Mr. McDowell first argue that because they were not permitted to
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attend or participate in the selection of the grand jury, they were denied their due process

rights, and as a result, the case should be dismissed for lack of subject matter jurisdiction.

Mr. Pitter and Mr. McDowell allege they ought to have been allowed to be present for the

selection of the grand jury for the opportunity to object, as permitted by the Federal Rules

of Criminal Procedure, to any part of the process conducted in violation of 28 U.S.C. §

1861 et seq. The government contends, on the other hand, that Mr. Pitter and Mr.

McDowell misapprehend the appropriate timing for challenging the composition of the

grand jury. Because business of the grand jury is secret and selection of the grand jury

oftentimes takes place before a crime is even committed, the government submits that it

would be irrational for a defendant to be able to challenge the grand jury at the time of

selection.

       According to Mr. Pitter and Mr. McDowell, Rule 6 of the Federal Rules of

Criminal Procedure and 28 U.S.C. § 1867 guarantee a party the opportunity to object to

the grand jury or an individual grand juror at the time of the selection process. Rule 6

provides:

       “(b)(1) Challenges. Either the government or a defendant may challenge
       the grand jury on the ground that it was not lawfully drawn, summoned, or
       selected, and may challenge an individual juror on the ground that the juror
       is not legally qualified.
           (2) A party may move to dismiss the indictment based on an objection to
       the grand jury or on an individual juror’s lack of legal qualification, unless
       the court has previously ruled on the same objection under Rule 6(b)(1).
       The motion to dismiss is governed by 28 U.S.C. § 1867(e).”

Fed. R. Crim. P. 6(b)(1)-(2). The rule does not explicitly state, nor does it suggest, that a


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defendant has the right to be present during the grand jury selection or to challenge the

selection process at that time.

       The Jury Selection and Service Act, 28 U.S.C. § 1861 et seq., governs the selection

of grand and petit juries in federal court, and section 1867 provides the exclusive means

by which a party may challenge grand jury selection procedures. United States v.

Contreras, 108 F.3d 1255, 1267 (10th Cir. 1997). The procedural requirements are

designed to give the district court an opportunity to evaluate the alleged noncompliance

and to correct such noncompliance before judicial resources are invested in a trial. Id. at

1266 (citing United States v. Kennedy, 548 F.2d 608, 612-14 (5th Cir. 1997)). Section

1867(a) articulates that challenges to procedures under the Act must be made before voir

dire examination begins or within seven days after the defendant discovered or could

have discovered the grounds therefore. 28 U.S.C. § 1867(a). It does not state, however,

that such challenges may be made during the selection process itself. Mr. Pitter and Mr.

McDowell have not provided, nor has the Court’s independent research revealed, any

case law that recognizes the power of a party to challenge the grand jury at the time of its

selection.

       Furthermore, the Court has already ordered that Mr. McDowell, through counsel,

be allowed to inspect the master jury wheel and completed jury qualification forms used

to determine the jury wheel, to determine whether a challenge to the composition of the

grand jury or to a particular grand juror’s qualifications is appropriate (doc. 411). Should

Mr. Pitter and Mr. McDowell wish to object to the grand jury selection process or

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qualifications of individual grand jurors, they must do so in accordance with 28 U.S.C. §

1867 and only after reviewing the relevant materials made available as ordered by the

Court.

         As part of their argument regarding the grand jury selection process, Mr. Pitter and

Mr. McDowell claim that the case should be dismissed because the indictment was not

returned in open court as required by Rule 6(f) of the Federal Rules of Criminal

Procedure. Rule 6(f) states in relevant part that “the grand jury – or its foreperson or

deputy foreperson – must return the indictment to a magistrate judge in open court.” Fed.

R. Crim. P. 6(f). The government points out that indictments are, as part of typical

procedure, presented in open court to a district or magistrate judge by the foreperson after

the grand jury has finished its business for the month. It clear from the transcript of the

grand jury’s return of the indictment to Judge Lungstrum on November 5, 2009 (doc. 563,

att. 1) and superseding indictment to Judge Murguia on November 4, 2010 (doc. 563, att.

2) that Rule 6(f) procedures were properly followed in this case.

         2. Filing of Indictment

         The indictment against Mr. Pitter and Mr. McDowell was filed on November 5,

2009 (doc. 1), and Defendants were subsequently arrested on December 2, 2009. Mr.

Pitter and Mr. McDowell claim that the indictment was prematurely filed, as it was not

filed within thirty days after arrest as described in 18 U.S.C. § 3161(b). As a result, Mr.

Pitter and Mr. McDowell suggest that the case be dismissed for lack of subject matter

jurisdiction.

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       Mr. Pitter and Mr. McDowell misconstrue the purpose of 18 U.S.C. § 3161(b).

Section 3161(b) is part of the Speedy Trial Act, the purpose of which is to provide a

defendant with prompt judicial resolution of the charges against him and to prevent

prejudice caused by extended pretrial incarceration. See United States v. Seltzer, 595

F.3d 1170, 1180 (10th Cir. 2010). The relevant provision of the Speedy Trial Act

requires that the government file an information or indictment within thirty days of a

defendant being arrested or served a summons. United States v. Cone, 310 F. App’x 212,

215 (10th Cir. 2008) (citing18 U.S.C. § 3161(b)). Section 3161(b) is related to a

defendant’s right to a speedy trial, within 70 days from the filing of the indictment or

from the date the defendant appeared before a judge, whichever is later, subject to certain

exclusions. 18 U.S.C. § 3161(c)(1). The government correctly points out that section

3161(b) does not require that a defendant be arrested prior to presenting the case to a

grand jury or filing an indictment. See United States v. Haiges, 688 F.2d 1273, 1274 (9th

Cir. 1982) (“When the a defendant is indicted prior to his arrest, the 70 day pretrial period

runs from the date of his arraignment.”). Rather, section 3161(b) is meant to ensure that

the government presents the case to a grand jury for indictment within 30 days of a

defendant’s arrest. In the case at hand, this requirement was satisfied.



       3. Filing of Complaint

       Rule 3 of the Federal Rules of Criminal Procedure states that a complaint “is a

written statement of the essential facts constituting the offense charged. It must be made

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under oath before a magistrate judge or, if none is reasonably available, before a state or

local judicial officer.” Fed. R. Crim. P. 3. Mr. Pitter and Mr. McDowell contend that this

rule necessitates that the government present a complaint to a judge prior to arresting a

defendant, and because in this case the government failed to file a complaint, the case

should be dismissed for lack of subject matter jurisdiction. The government counters that

while Rule 3 allows the government to charge a defendant via complaint and then obtain

an arrest warrant, a complaint is not the only mechanism by which charges can be

brought. Charging by complaint, according to the government, is in fact only a temporary

procedure that allows a magistrate judge to issue a warrant effective only until an

indictment can be presented to a grand jury.

       While it is true that an arrest warrant may be issued only after the reviewing judge

determines that there is probable cause present to support the detention of a person, it

does not follow that probable cause may only be ascertained from a complaint. For an

arrest warrant to be valid, there must be facts or information affording sufficient basis for

a finding of probable cause to believe an offense has been committed. See Hollingsworth

v. United States, 321 F.2d 342, 348 (10th Cir. 1963). An arrest warrant can be based

upon an indictment, because the grand jury’s determination that probable cause existed

for the indictment also establishes that element of probable cause for the purpose of

issuing a warrant for the apprehension of the person so charged. Giordenello v. United

States, 357 U.S. 480, 485 (1958). In the absence of an indictment, however, the issue of

probable cause must be determined by the magistrate, and an adequate basis for such a

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finding must appear on the face of the complaint. Id.

       In this case, the grand jury made its probable cause finding based on evidence

presented during grand jury proceedings, and therefore no complaint was necessary. Rule

6(f) assumes the nonessential status of a complaint in the criminal context:

       A grand jury may indict only if at least 12 jurors concur. The grand jury –
       or its foreperson or deputy foreperson – must return the indictment to a
       magistrate judge in open court. If a complaint or information is pending
       against the defendant and 12 jurors do not concur in the indictment, the
       foreperson must promptly and in writing report the lack of concurrence to the
       magistrate judge.

Fed. R. Crim. P. 6(f). The rule does not state that a complaint must be pending against a

defendant before presentation of evidence to a grand jury. In fact, Rule 6(f) contemplates

that sometimes a complaint is not pending when the grand jury meets. Here, the grand

jury appropriately returned an indictment based on probable cause found during grand

jury proceedings. No complaint was necessary.

       4. Preliminary Hearing

       Mr. Pitter and Mr. McDowell argue that they were never afforded a preliminary

hearing as directed by Rule 5 of the Federal Rules of Criminal Procedure, and therefore,

the case should be dismissed for lack of subject matter jurisdiction. According to Rule

5(c)(3)(C), if the initial appearance by a defendant occurs in a district other than where

the offense was allegedly committed, the magistrate judge must conduct a preliminary

hearing if required by Rule 5.1. Fed. R. Crim. P. 5(c)(3)(C). Rule 5.1 provides that if a

defendant is charged with a non-petty offense, a magistrate judge must conduct a


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preliminary hearing unless the defendant waives the hearing or is indicted. Fed. R. Crim.

P. 5.1.

          The rule relied upon by Mr. Pitter and Mr. McDowell is inapplicable to the facts in

this case. There is no requirement in the Constitution or otherwise that a defendant be

given a preliminary hearing before he may be brought into a court already having

jurisdiction of the charge against him. Barrett v. United States, 270 F.2d 772, 775 (8th

Cir. 1959). Mr. Pitter and Mr. McDowell initially appeared in the district where they

were charged (docs. 5, 49). Thus, Rule 5(c)(3)(C) is irrelevant. Furthermore, Mr. Pitter

and Mr. McDowell were indicted, and as a result, they had no right to a preliminary

hearing as described in Rule 5.1. Where the defendant is already indicted, no purpose is

served by a preliminary hearing. See Barrett, 270 F.2d at 776; Swingle v. United States,

389 F.2d 220, 223 (1968). Mr. Pitter and Mr. McDowell were therefore not entitled to a

preliminary hearing.

          5. Magistrate Judge

          The magistrate judge asked for Mr. Pitter and Mr. McDowell to enter a plea during

their initial appearance, which Mr. Pitter and Mr. McDowell contend exceeded the

magistrate’s authority. According to the government, Magistrate Jude O’Hara complied

with the relevant rules of criminal procedure when Mr. Pitter and Mr. McDowell either

pleaded not guilty or had not guilty pleas entered on their behalf by counsel. The

government believes Mr. Pitter and Mr. McDowell misunderstand the power and

authority of a magistrate judge.

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       Pursuant to Title 28 of the United States Code, magistrate judges have those

powers and duties conferred or imposed upon United States commissioners by law or by

the Rules of Criminal Procedure for the United States District Courts. 28 U.S.C. §

636(a)(1). Included in this power is the authority of the judge to ask a defendant to enter

a plea. Rule 5(d)(4) of the Federal Rules of Criminal Procedure dictates that a defendant

may be asked to plead only under Rule 10. Rule 10 ensures that at an arraignment, the

defendant has a copy of the indictment or information, the judge reads or states the

substance of the indictment to the defendant, and the judge asks the defendant to plead to

the indictment. Fed. R. Crim. P. 5(a). An arraignment in accordance with Rule 10 is

intended to be a safeguard for due process. Merritt v. Hunter, 170 F.2d 739, 741 (10th

Cir. 1948).

       Here, Judge O’Hara abided by Rule 5 and Rule 10 during the arraignment of Mr.

Pitter (doc. 49) and Mr. McDowell (doc. 5). When Mr. Pitter and Mr. McDowell waived

formal reading of the indictment, Judge O’Hara explained the applicable charges and

penalties, and Mr. Pitter and Mr. McDowell either pleaded not guilty or not guilty pleas

were entered for them by counsel (docs. 5, 49). Judge O’Hara did not exceed the

authority bestowed upon him under Title 28 or the Federal Rules of Criminal Procedure.

       6. Jurisdiction

       Mr. Pitter and Mr. McDowell’s final argument in support of their motion to

dismiss is that the Court lacks subject matter jurisdiction, because the Federal

Government’s authority to regulate interstate commerce does not apply to the defendants

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in this case. In their motion, Mr. Pitter and Mr. McDowell rely on Wickard v. Filburn, a

Supreme Court case in which it was held constitutional for Congress, under the

Commerce Clause, to impose penalties on farmers receiving benefits under a federal

subsidy program. 317 U.S. 111 (1942). According to Mr. Pitter and Mr. McDowell,

because they have never registered for benefits or received benefits from any federal

agency regulating controlled substances, the Court has no jurisdiction over them.

       Mr. Pitter and Mr. McDowell misconstrue the jurisdiction of federal district courts.

Under the United States Code, district courts of the United States have original

jurisdiction of all offenses against the laws of the United States. 18 U.S.C. § 3231.

Criminal jurisdiction of courts of the United States is derived exclusively from acts of

Congress. Hudspeth v. Melville, 127 F.2d 373, 375 (10th Cir. 1941) (citing Jones v.

United States, 137 U.S. 202 (1890)). Thus, for the Court to have subject matter

jurisdiction over a criminal defendant, Congress must have explicitly prescribed the

criminal offense. See Jerome v. United States, 318 U.S. 101, 105 (1943). In this case,

Mr. Pitter and Mr. McDowell have been charged in part with conspiracy to distribute and

possess with the intent to distribute 1000 kilograms or more of marijuana, in violation of

21 U.S.C. §§ 841(a) and 846, continuing criminal enterprise, in violation of 21 U.S.C. §

848, and using a communication facility, a cellular telephone, in facilitating the offense,

in violation of 21 U.S.C. § 843(b).

       The government points out that, contrary to Mr. Pitter and Mr. McDowell’s

argument, 21 U.S.C. §§ 841(a) and 846 are in fact within Congress’s authority to regulate

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interstate commerce. Section 841(a) states that it is unlawful for any person “knowingly

or intentionally to manufacture, distribute, or dispense, or possess with intent to

manufacture, distribute or dispense, a controlled substance.” 21 U.S.C. § 841(a)(1). The

Tenth Circuit, in United States v. Price, explained that the activities described in § 841(a)

are, by their nature, economic in character. 265 F.3d 1097, 1107 (10th Cir. 2001). They

are therefore constitutional and do not exceed Congress’s ability to regulate interstate

commerce. Id. Furthermore, the Price court noted that if the underlying substantive

provision is constitutional, a provision which criminalizes conspiracy to commit the

underlying crime is also constitutional. Id. at 1107 n.2 (citing United States v. Wacker, 72

F.3d 1453, 1475 n. 18 (10th Cir. 1996)). Sections 846 and 848 are thus included in

Congress’s interstate commerce authority. Finally, the court in Price stated that 21

U.S.C. § 843(b) is within the bounds of Congress’s power over interstate commerce.

When a defendant violates § 843(b) by using a communication facility to facilitate a

violation of § 841(a)(1), the substantial effect on interstate commerce is obvious. 265

F.3d at 1107.

       Mr. Pitter and Mr. McDowell are mistaken in contending that the Federal

Government’s authority to regulate interstate commerce does not apply in this case. Also

unconvincing are Mr. Pitter and Mr. McDowell’s various other challenges to the Court’s

jurisdiction and related procedural claims. As a result, their arguments fail.



IT IS THEREFORE ORDERED BY THE COURT that Mr. Pitter and Mr.

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McDowell’s motion to dismiss (doc. 481) is denied.



      IT IS SO ORDERED this 3rd day of December, 2010.



                                         s/John W. Lungstrum
                                        John W. Lungstrum
                                        United States District Senior Judge




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